     Case 2:13-cr-06070-SAB     ECF No. 100       filed 07/22/24   PageID.337   Page 1 of
                                              2



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 4
     Attorney for Defendant
 5   Kenneth Richard Rowell

 6
 7
                      UNITED STATES DISTRICT COURT
 8                   EASTERN DISTRICT OF WASHINGTON
                        The Honorable Stanley A. Bastian
 9
10   United States of America,
11                               Plaintiff,           No. 2:13-CR-6070-SAB
12
           v.                                         Notice of Appearance
13
     Kenneth Richard Rowell,
14
                               Defendant.
15
16
           Please take notice that Craig D. Webster of the Federal Defenders
17
     of Eastern Washington and Idaho hereby enters his appearance as
18
19   counsel of record in this matter. All future correspondence and court
20
     filings should be forwarded directly to the address listed above.
21
     //
22
23   //
24
25

     Notice of Appearance: 1
     Case 2:13-cr-06070-SAB    ECF No. 100       filed 07/22/24   PageID.338   Page 2 of
                                             2



 1   Dated: July 22, 2024.
 2
 3
 4                                               By s/ Craig D. Webster
                                                   Craig D. Webster, 40064
 5                                                 Attorney for Kenneth Richard
 6                                                 Rowell
                                                   Federal Defenders of Eastern
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                                                   Craig_Webster@fd.org
10
11
                                Certificate of Service
12
13         I hereby certify that on July 22, 2024, I electronically filed the
14   foregoing with the Clerk of the Court using the CM/ECF System which

15   will send notification of such filing to the following: Brandon L. Pang,

16   Assistant United States Attorney.

17
                                                 s/ Craig D. Webster
18                                               Craig D. Webster

19
20
21
22
23
24
25

     Notice of Appearance: 2
